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                      CONSENT TO BECOME PARTY PLAINTIFF

                     Fair Labor Standards Act of 1938, 29 U.S.C. §216(b)

       I hereby consent to be a party plaintiff seeking unpaid wages and liquidated damages

(“damages”) against the Dallas Cowboys Football Club, Ltd. (“Defendant”), and all entities

and/or individuals that may be jointly liable with Defendant for my claimed damages. I further

acknowledge that this consent is intended to be filed to recover my damages against Defendant,

and all other individuals and/or entities who are or may be jointly liable along with Defendant,

whether in the above-captioned action or in any subsequent action or proceeding that may be

filed on my behalf for such recovery, and this consent may be used in this case or in any

subsequent case or proceeding as necessary. For purposes of pursuing my damages claims

against Defendant, I choose to be represented by the law firms of Baron & Budd, The Clifford

Law Firm, and other attorneys with whom they may associate.



       01/31/18
Date: __________________________         Signature:




Printed Name: Erica Wilkins




                             Exhibit 1 - Wilkins Consent to Join
